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EXHIBIT C

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Leticia Rudolph v.

Daniel Babinec, Robert Atkinson, Tyv}_). of Fruitport

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Page 1
UNITED sTA'rEs DIsTRIcT couRT
wEsTERN DISTRICT oF MIcHIGAN

LETICIA RUDoLPH, §
Plaintiff, )
Case No. 1:17-CV-125
Hon. Janet T. Neff

VS.

)
DANIEL T. BABINEC, ROBERT A.
ATKINSON, in their individual
and official capacities, and
the TOWNSHIP OF FRUITPORT,

Defendants.

`»`~`,`,`¢`»`~

Deposition of OFFICER ROBERT A. ATKINSON, taken
on behalf of the Plaintiff, at 5825 Airline Road, Fruitport,
Michigan, commencing at 2:55 p.m., on Monday, October 2, 2017,

before CYNTHIA M. THOMAS, CSR/RPR/CM/CRR and Notary Public.

APPEARANCES:
For Plaintiffs: cHRIsToPHER TRAINoR a AssocIATEs
Attorneys at Law
CHRISTOPHER J. TRAINOR
9750 Highland Road
white Lake, Michigan 48386

BY:

For Defendants: MCGRAW MORRIS, P.C.
Attorneys at Law
BY: AMANDA MARIE ZDARSKY
2075 W. Big Beaver Road
Suite 750
Troy, Michigan 48084

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EXAMINATION FAGE

ROBERT A. ATKINSON BY MR. TRAINOR 3

BY MS. ZDARSKY 30

EXHIBITS FOR IDENTIFICATION

(None)

Court Reporting Scrviccs

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Robert Atkinson

BY MR. TRAINOR:

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Robert Atkinson - Vol. I
October 2, 2017

Pa§$»

Fruitport, Michigan, Monday, Oetober 2, 2017
2:55 p.m.

OFFICER ROBERT A. ATKINSON,
produced as a witness by and on behalf of the Plaintiff,
and having been first duly sworn by the Notary Public, was

examined and testified as follows:

MR. TRAINOR: Please state your name.

THE WITNESS: Robert Atkinson,

MR. TRAINORZ Let the record reflect this is the
deposition of Robert Atkinson taken pursuant to notice and
agreement of counsel of record to be used for any and all
purposes consistent with the l\/lichigan Court Rules,
Michigan Rules of Evidence, Federal Court Rules, Federal

Rules of Evidencc.
EXAMINATION

Mr. Atkinson, have you ever had your deposition taken
before?

No.

Testify in court?

Yes.

Okay. This is pretty much the same only you don't have a
judge here. Okay? l

 

All right. A courtroom full of people.

Yeah, a courtroom full of people and the judge.
Cindy is taking your testimony down. So if you

can answer with an out-loud, verbal response, it's

appreciated ls that fair?

That's fair, yeah.

Another thing is, is just like in the courthouse, you're

going to be held to the answer you give. Do you

understand that?

Yes, sir.

So if you don't understand what l've asked, you tell me

that. Okay?

Okay.

And you're currently employed where, sir?

Employment, you said?

Yeah. Where are you employed? |

Fruitport County Sheriff Police Department.

Are you full time?

Yes, sir.

How long? l

Five years now; two part time, three full time.

You were full time back on Mareh 15th of 2015? `

Yes, I would have been, yeah.

Before being employed with Fruitport Police Department,

did you have any other police-related type employment

 

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Leticia Rudolph v.
Daniel Babinec, Robert At_kinson, Twp. of Fruitpor_t

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Page 5 y
experience?
Yes.
Where? l
l came from Roosevelt Park Police Department. j
l'm sorry?
Roosevelt Park. l
Where is that? '
lt's about five, six miles northwest of here.
The town called Roosevelt Park?
Yes.
Okay. Any other police department?
Yeah.
Was that full time or part time?
That was part time.
Any other?

Yes. Muskegon Township Police Department.
Full time or part time?

Part time.

And where else?

New Era Police Department.

Part time or full time?

Part time.

Any other?

One more. Shelby Police Department.

Shelby. Part time or full time?

Page 6

Part time.

Who did you work with over there at Shelby and New Era?
Was Morningstar over there?

No. This is in Oceana County.

You never worked with Morningstar at New Era or Shelby?
No.

How about Babinec; did you work With him over at New Era
and Shelby?

Yes.

Okay. Did you work anywhere full time when you were at
Roosevelt Park?

No. They were all part-time jobs.

And they all got you 40 to 50 to 60 hours a week?
Yeah, right around there. lt was a combination of two or
three, and there was one period of time where I think
l had four part-time jobs for a month or two.
Okay. Prior to becoming a police ofticer, how were you
employed?

l worked in a steel shop.

Where?

Harbor Steel & Supply.

Have you ever been terminated from employment‘?
No.

 

Suspended?
No.

Court Reporting Scrviccs

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Robert Atkinson

Robert Atkinson - Vol. l
October 2, 2017

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Even with police departments, you've not been suspended?
No.

How about reprimanded?

Yes.

F or what?

l was taking a catnap in the office a few years back.
Okay. Where?

Here.

What did you tell the people Wllo looked into this?
With the number of hours I was working, being extremely
exhausted, l was just having a hard time with it. So
I tumed the radio up and just sat down in the chair for a
minute, just like l'm Sitting now, and l just dozed off
for a couple minutes. And, actually, Morningstar is the
one who talked to me about that, so that was the --
You told him you dozed off for a couple of minutes?
Yeah.

But really you were taking a nap, right?

I guess you could call it a nap, sure.

How long did you fall asleep for?

J ust a real short time, a few minutes.

So you were reprimanded for that. Anything else‘?
That was it.

Did you go to college?

Yes, sir.

Wherc?
thrc do l start. Muskegon Community Collcge, Associate's
degree.
Okay.
West Shore College in Scottville. That was for the
academy.
Okay.
And Baker College for a Bachelor's degree.
Oh, really? ln what?
Science and police work, criminal j ustice.
Okay.
l took a short program for MSU; they have an on-line
program for hazardous materials, I believe it was.
All right.
l think that's it for school.
llave you ever been accused by anybody that you've arrested
of using too much force?
I'm self-reflecting here -- ten years of work -- give me a
second.

No, this would be the first.
Did you actually put your hands on Miss Rudolph in this
case?
Yes.
My understanding is you grabbed her left wrist?
Yeah, to -- yes, place her ann behind her back. |

 

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Leticia Rudolph v.

Daniel Babinec, Robert Atkinson, Tw_p. of Fruitport

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BY MR. TRAINOR:

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Pag;S l

And that's it?
That was the gist of it, yeah. That was it.
Gist of it or is that all?
That's all.
Okay. So you placed her hand behind her back? l
Yes, sir. '
Okay. And who put the cuffs on her? |
Oft`icer Babinec.
Okay. Did you see him push her against the wall?
l didn't see any like push or shove, but l helped him by
holding her against the wall so she wouldn't pull away
from us again. l didn't see any shoving or pushing
Okay. No one pushed her into the wall then, right?
l didn't See any -- no, I didn't see any pushing
Okay. Did you see Miss Rudolph pull away from Babinec‘?
MS. ZDARSKYZ Objection to t`onn. You mean after
the wall, before the wall?
MR. TRAINOR: At any time. l
MS. ZDARSKY: Okay.
THE WlTNESS§ lt‘S been so long. lremember the
pulling away. I can't remember -- recall if l observed
it.

Okay.
l do recall the pulling away.

Page 10

Well, what do you mean you don't know if you saw it or

observed it or not? Did you see her pull away or not?

I can't -- l can't remember because l'm busy looking at

faces.

That's fair. That's fair. That's all I want to know.
You can't remember, right?

Yes.

True?

True. If it was a more recent incident

What about -- she ends up against the wall to put the

handcuffs on her, right?

Yes.

And you had put your hands up like you were holding her

against the wall?

No, l was holding the arm --

Yeah.

-- While she was against the wall.

Okay. You were holding her elbow‘?

The upper arm area and the Wrist area.

Okay. To bring it behind her back, right?

Yes, sir.

Okay. Was she pulling away from you?

No.

Okay. So you brought it behind her back, and there was no

 

struggle from her left side, right?
|

Court Reporting Scrvices

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25 Q Okay. So when Babinec knocks on the door, she opens up

Robert Atkinson

>O J>»OJ> OD>

BY MR. TRA[NOR:

Q

BY MR. TRAINOR:

Q
A

Robert Atkinson - Vol. l
October 2, 2017

Page_11-

No, sir.

Okay. Did you have any trouble getting the handcuffs on
that you saw?

No.

Who told you to go to l\/liss Rudolph's home?

That was -- Off`lcer Babinec requested that l stop by there
to check on her.

All right. What did he tell you?

l was informed that Offieer Hodges had located a gun
from Miss Rudolph's -- was it boyfriend or husband or
ex-husband.

Okay. l
And she was potentially suicidal. So l was to go and
check and see if l could make contact With her at her
residence

Okay. Did he tell you what to do if you couldn't make
contact with her?

No.

Did they tell you she was suicidal and she needed to be
brought in?

No.

So you were going over there to check on her. And you got
there first, right?

Yes.

And who was there when you got there?

Page 12

Oh, l got there and l -- l knocked on the front door,

checked in some windows, didn't see or hear anybody.

So then what did you do?

l waited. Oi`ficer Babinec showed up shortly after, and he

proceeded to knock. Eventually, she came to the door.

Okay. So your knocking didn't get anywhere but his

knocking did, right?

Yes.

So she answered the door after he knocked, right?

Yes.

And were you standing -- was there a porch?

l don't remember like an exterior porch.

Okay. Were there steps that went into the house?
MS. ZDARSKYZ Objcction; form. Which location?

J ust at the location they were at?

Yeah, the location you were at.
MS. ZDARSKY: The door you were at.
THE WITNESSZ ldon't remember if there were
steps or not.

 

Okay. Was there a storm door?
I believe so. I believe there was an outer door and then
the regular inner one.

 

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Lcticia Rudolph v. Robert Atkinson Robert Atkinson - Vol. 1
Daniel Babinec, Robert Atkinson, Twp. of Fruitport Octobcr 2, 2017
7 _ _ _ _ PaQ€_iS l _ _ _ _ E;Qe 15 l
1 the door. And was she standing -- was the main door all 1 A Again, that Would depend On -- ljust Wish l could l
2 the way open? 2 remember more of the conversation that night. I don't
3 A l can't remember if she had it open or partial. 3 want to make anything up.
4 Q Do you say anything to Miss Rudolph? 4 Q You don't have to make anything up. l appreciate you
5 A No, l believe Officer Babinec did the talking 5 doing your best to tell the truth here.
6 Q What did he say? 6 Does Miss Rudolph say anything to you l
7 A l -- I don't remember. 7 personally?
8 Q Okay. Does she invite you guys into her home? 8 A I believe she spoke to both of us while we were there
9 A The substance of the conversation -- l can't remember if 9 And while speaking to us, 1 do remember the portion of
10 she said come on in or no, stay outside. lt's been so l 10 the conversation -- what led me to believe she was l
11 long. l 11 intoxicated I caught an odor of intoxicants from her.
12 Q Okay. So if she's testified that she told you not to come 12 Q Was that inside Or Outsid€ the house? |
13 in her house, you don't have any reason to disagree with 13 A That was in the walkway -- yeah, just inside thc walkway.
14 that, right? 14 There was like a little breezeway there, l do remember l
15 MS. ZDARSKYZ ()bjection to the characterizationl 15 that.
16 BY MR. TRAlNOR: 16 Q Okay. Well, how did you get into the breezeway?
17 Q GO ahCad. 17 MS. ZDARSKYZ Objcction; asked and answered
18 A l just -- l don't recall the conversation 18 BY MR. TRAINOR:
19 Q Okay. 19 Q Go ahead. Youjust walked in?
20 A lt's -- yeah, it's so long ago. 20 A Right. l believe I was behind Officer Babinec.
21 Q Okay. Do you know anything that Babinec says to her? 2 1 Q Okay. Did Babinec ever go into the house and then leave l
22 A No. 22 and then come back in again, if you know?
23 Q Do you know how you get into the house? 23 A Not that l remember.
24 A How we got into the house? 24 Q Okay. How about you; did you ever go in and leave?
25 Q Yeah. How did you get into the house? 25 A No, l stayed right there with him.
Page 14 Page 16 "
1 A J ust Walked in the front d00r. 1 Q Okay. So you go in the house and the two of you are in
2 Q Do you know what right you had to walk right in her front 2 the house. And then you take her into custody and take
3 door? 3 her to the car. That's the long and the short of it,
4 A Well, at that point, it was checking on her well-being to 4 right?
5 make sure she didn't plan on harming herself. 5 A Well, there's conversation, which l wish -- like I said,
6 Q And that allowed you the right to walk into her home? 6 l wish l could remember the substance of most of it,
7 A l believe there's a policy or guideline that allows for a 7 but -- yes.
8 WCll-bCing ChCCk. l Can't recall Offhar\d, but l 8 Q Okay. So the two ofyou never go in, leave, and then come
9 Q What if she tells you, get out of my house, l don't want 9 back in again?
10 you herc? Does that allow you to still go in the home? 10 A We were there with her for the duration.
11 A l guess that WOuld depend On the CirCuInStanCC. 11 Q Okay. Do you ever remember her telling you to leave her
12 Q How about in the circumstances in this case? 12 home‘?
13 A If officers are genuinely concerned for someone's 13 A l don't.
14 well-being, they may potentially cause harm to themselves, 14 Q She COuld haVC, but you dOn't rCmCrnb€r, right?
15 I think that would qualify as an emergency or exigent 15 A Right.
16 Cil‘CuIl'lStanC€. 16 Q Do you remember anything she said like, l'm okay, leave me
17 Q Do you have any knowledge there's an indication that she's 17 alOn€, l'm nOt SLliCidal, anything like that?
18 going to harm herselfbcf`ore you go into the home? 18 A l do remember her refusal to be taken to the hospital.
19 Well, the information that we had at the time, l believe 19 Q Well, tell me how She refused
2 0 there was a good possibility after a pistol was acquired 2 0 A She didn't want to go because she thought she was fine,
21 in the middle of the night. 21 she was okay.
22 Q What information? 22 Q Okay. Did anyone ask her to come with you?
23 A That was given from Ofliccr l~lodges to Babinec to me. | 23 l\/lS. ZDARSKY: l'm sOrry?
24 Q Okay. So third-hand knowledge allows you the opportunity |24 BY MR. TRAlNORZ
25 to go into her home, right‘? ` 25 Q Like, come on with us, let's go, we're going?

 

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Leticia Rudolph v. Robert Atkinson

Daniel Babinec, Robert Atkinson, Twp. of Fruitport

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October 2, 2017

 

 

 

 

 

Page 17 Page 1?|

1 A I don't remember that. 1 Q You said she pulled away though. So that, to me, means

2 Q Okay. Did you give her an ultimatum? 2 she broke away. l

3 A l believe I may have asked her -- told her she could -- 3 A Initially. You're talking during the initial attempt to

4 she could go to the hospital or we could transport her. 4 place handcuffs on?

5 l do remember that. 5 Q Yes.

6 Q You told her that? 6 A She pulled away from Officer Babinec.

7 A Yes. l 7 Q Broke away from him?

8 Q Before you put your hands on her to put the handcuffs on l 8 A NO. NO.

9 her, did you ever tell her that you're under arrest? 9 Q And what did he do when she pulled away from him?
10 A l don't remember that. I don't believe that would be 10 A He grabbed ahold of her arm -- a better grab, a better
11 considered an arrest because there wasn't a -- it wasn't 11 hold.

12 criminal. 12 Q And then what did he do'?

13 Q Did you ever tell her, turn around, put your hands behind 13 A Then Wc held her against the Wall.

14 your back, we're handcuffing you? 14 Q Was she already against the wall?

15 A No, l don't remember that. 15 A No.

16 Q Okay. Did Babinec ever tell her that? 16 Q How did she end up against the wall?

17 A Not that l can recall, no. 17 A We moved her to the wall.

18 Q You prepared a supplemental report to the incident report? 18 Q Okay. YOu and he?

19 A Yes. 19 A Yes.

20 Q The purpose ofthe supplemental report is to memorialize a 20 Q Okay. Did yOu CSCOI‘t MiSS RudOlph tO the Car?

21 certain incident that occurred? 21 A No, that was Officer Babinec.

22 A Right, and document my involvement in that. 22 Q Did you watch him escort her to the car?

23 Q Okay. Be as specific as possible and put in as much l23 A l remember walking alongside of him, yes.

24 detail as possible, COrrcCt? 24 Q Okay. At what point in time did you go get her shoes?

25 A Yes. 25 A It was after she was placed in the back seat of the --
Page 18 Page 20

1 Q Tell me everything Miss Rudolph did to refuse to go to the 1 Q What was Miss Rudolph saying as you were walking to the

2 hospital. 2 car with her?

3 A Like? 3 A l do remember her saying that her -- she had a family

4 Q Everything. What did She dO? 4 member that was an officer, and she would be calling him.

5 A Verbally refusing 5 Q That's on the way to the car?

6 Q How about physically refusing, starting with that, if she 6 A Yes.

7 did 7 Q Okay. Anything else she was saying?

8 A Besides the pulling away -- 8 A Not that l remember, no.

9 Q When did she pull away? 9 Q Was she talking the whole way to the car?

10 A When we were inside the walkway there. 10 A l don't remember.
11 Q Tell me hOW She pullCd away. 11 Q Did she ever complain about being hurt; you're hurting me'?
12 MS. ZDARSKY: Objcction; asked and answered l 12 A No. She walked without any problems
13 GO ahead 13 Q Did she ever complain about the handcuffs being too tight?
14 MR. TRAlNOR: That's never been answered 14 A No.
15 THE WITNESS: Well, l believe it was after 15 Q Why did you put in your report that you checked the
16 Officer Babinec attempted to place handcuffs on her. 16 handcuffs and made sure they were double locked?
17 BY MR. TRAINORZ 17 A Standard procedure is to make sure that they're not gonna
18 Q Okay. How did he attempt to place handcuffs on her? 18 cause harm to someone's wrist and they're on there -- and
19 A I believe he would have tried grabbing her right arm 19 they're not meant for comfort, but they're on there in a
2 0 because l had her left arm. 2 0 decent fashion so they're not getting any tighter or any
21 Q Okay. 21 looser.
22 A Then after that, there was no -- no resistance on her 22 Q How come Babinec didn't put that in his report?
23 part. She was pretty cooperative 23 MS. ZDARSKY: Objcction; speculation.
24 Q Okay. Did she break free from you or Babinec? 24 BY MR. TRAlNOR:
25 A No. No. 125 Q Go ahead

|

 

 

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Leticia Rudolph v.

Daniel Babincc, Robert Atkinson, Twp. of Fruitport

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_ Page 21_i_

lt's possibly because I was the one that checked them
after he put them on.
When did you prepare your report after this incident?
When? l
Yeah. l
I can't remember if it was the night of the incident or
the day after. lt was --
Why would it take you five days to prepare this report, j
a supplement, after the incident?

MS. ZDARSKYZ Objcction; form, speculation 10

Wm\lmu'|»thI-l

 

 

BY MR. TRAINOR: 11
Q C an you answer that question or not? 12
A A ton ofreasons. Numbcr of`call volume or other reports | 13

that needed to be done. 14

Q Did Morningstar tell you to prepare the supplemental l 15

report? 16

A No, that's -- 17

Q You did it on your own? 18

A Yeah. Yes. 19

Q Okay. Because you want to be truthful and accurate and -- 2 0

right? 21

A Yes, sir. 22

Q Did Morningstar ever investigate this and ask you 23

questions about it? 24

A Yes. 25
Page 22

Q He interviewed you personally? l 1

A l can't remember if he talked to my -- just me or myself 2

and Babinec together 3

Q But you think he spoke with you, right? 4

A Yes, he did | 5

Q Okay. If he claims he didn't speak with you, what do you l 6

make of that? l 7

A Bad memory. ldon'tknow. 8

Q You're saying he did? 9

A I do remember speaking to him about the incident, ycs. 10

Q In a detective-type setting? 11

MS. ZDARSKY§ Objection to form; "detective-type 12

setting." 13

If you understand you can answer the question 14

THE WITNESS; As in at work, not my home? 15

BY MR. TRAINOR: l 16
Q Yeah, at work. 17
A Yes. ila
Q He took you in a room and questioned you? 19
A Yeah, I spoke to him at our office. 20
Q Took notes? 21
A I believe he would have, ycah. l'm not -- l didn't watch 22

him write, but 23
Q But he had a pen and paper or pencil and papcr? 24
A l don't know if he did or not. l don't remember. 25

 

Court Reporting Scrvices

Robert Atkinson

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October 2, 2017

_ Pag_e 23-
Did he record the interview?
l don't know.
Did you have a union representative with you?
No.
Did he give you Garrity?
No.
Were you concerned with him giving you Garrity?
l\/lS. ZDARSKYZ "With him giving you Garrity"?
MR. TRAINOR: Yeah.
MS. ZDARSKY: Hejust said he didn't get
Garrity.
MR. TRAINOR: He didn't.
BY MR. TRAINOR:
But were you concerned about that?
No.
Do you know what a Use of Force form is?
Yes.
What is it?
A form we have at the department that's filled out anytime
an officer uses force.
If someone is injured during the course of an arrest, are
you supposed to fill one out?
I’m just looking at this from two different ways in my
mind, whether it's officer or -- l'm trying to recall the
form. You know, if-- an example, if l use my taser or

O>O>O>O

 

3> O >O>OJ>O

use an OC spray, that's all on there. l'm just trying to
remember if there's -- I do remember there was a section
for officer injuries on the Use of Force form.
How about arrestee injury?
Yes. Yes, there is. There's a spot for that and if they
needed to be taken in for medical attention
Okay. Can you explain how Miss Rudolph ended up with
bruising on her arm?
MS. ZDARSKY: Objcction; speculation
You can go ahead
THE WlTNESSZ ldon't know how that would have
happened, no.
BY MR. TRAINOR:
Q Can you explain how Miss Rudolph ended up injuring her
ankle?
MS. ZDARSKY: Same objection
THE WITNESS. l wouldn't know how she would ha\e
done that, no.
BY MR. TRAINOR:
Q Can you explain how she ended up with swelling and rcdncss
and marks on her wrists?
MS. ZDARSKY: Same objection
Go ahead
THE WITNESS: No.

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1 BY MR. TRAINOR:
2 Q l want you to assume that Miss Rudolph has testified she

 

 

l 3 was yanked off steps or a porch, and she landed on her
4 ankle and twisted it.
l 5 Was there any reason to have yanked her off the
l 6 steps or porch?
7 l\/lS. ZDARSKYI Objcction; form and improper
8 assumptions, characterization
9 BY MR. TRAINOR:
10 Q Go ahead
11 MS. ZDARSKY: Ifyou understand the question
12 BY MR. TRAINOR:
13 Q Would there have been any reason to have yanked her off a
14 porch or steps?
15 A No.
16 Q Okay. l want you to assume that Miss Rudolph has
17 testified that she complained that not you, but Babinec,
18 was hurting her the whole time -- you're hurting me,
19 you're hurting me -- when he shoved her or pushed her into
20 the wall.
21 Would there have been any reason to have shoved
22 her or pushed her into the wall --
23 MS. ZDARSKY: Same objections.
24 BY MR. TMINOR:
25 Q -- such that she said she was being hurt?
Page 26
1 A No reason for any shoving lf there's somebody
2 complaining of pain in some way, we'd most certainly look
3 into it.
4 Q Okay.
5 A Like not just ignore it, if that did happen
6 Q There's no reason to have forcefully pushed her into the
7 wall in this case, was therc?
8 MS. ZDARSKY: Same objections
9 BY MR. TRAINOR:
10 Q Go ahead
11 A No.
12 Q That's no?
13 A No. Right, yes -- no. Excuse me, no. The answer is no.
14 Q lf Miss Rudolph had complained of the handcuffs being too
15 tight, someone should have checked on the handcuffs.
16 Would you agree with me?
17 MS. ZDARSKY: Same objections;
18 mischaracterization form, improper assumption and -- the
19 mischaracterization that someone didn't check the
20 handcuffs for tightness.
21 THE WlTNESSZ lf somebody -- ask it again l'm
22 sorry.
23 BY MR. TRAINOR:

24
25

being too tight, someone should have checked the

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Robert Atkinson

 

 

 

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1 handcuffs, correct?

2 A Yes, that would bc appropriate to check the handcuffs

3 Q Can you explain why no one requested an ambulance to come

4 to the scene?

5 A No.

6 Q lf someone is suicidal, is it appropriate to call an

7 ambulance and ask someone to take a look at her who's got

8 more medical training than you do?

9 A lf that person was willing to go, usually -- generally,
10 given options, if they were willing to ride in an
11 ambulance to the hospital, that would be an option
12 Q Okay. Do you know why an ambulance wasn't called in this
13 case?

14 MS. ZDARSKYI Objcction; asked and answered
15 Go ahead
16 THE WITNESSI l’ossibly because of.`\/liss Rudolph's
17 refusal to go.
18 BY MR. TRAINOR:
19 Q Did you offer the option for her to go in an ambulance
20 instead of in a police car?
2 1 A l can't remember if she was offered that by myself or the
22 other officer on scene or not.
23 Q If it's not in anybody's report, then most likely she
24 wasn't offered the opportunity to go to the hospital in an
2 5 ambulance; isn't that true?

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1 A That would be true, if l didn't put it in there.

2 Q Did you ever ask why her husband wasn't brought to the

3 scene to talk with her?

4 A No, not that l can remember. No.

5 Q Did you ask ~- or did you suggest that maybe we should go

6 talk to her husband before we take her away, whether she

7 told him she was suicidal or not?

8 A No.

9 Q No?

10 A No.
11 Q So you relied upon what Hodges told Babinec and Babinec
12 told you, and you engaged in the taking into custody of
13 Miss Rudolph based upon that, right?
14 A Based on the information from Officer Babinec and Hodges
15 and her condition and statements on scene.
16 Q What statements on scene did she make to you that would

l 17 indicate that she needed to bc taken for obscrvation?
18 A l do remember Officer Babinec asking her about the gun,

l 19 and she -- making -- made the statement that she was l
2 0 cleaning it.
21 Q Okay.
22 A And given the time of the day -- night, excuse me, it
23 seemed a little out of the ordinary.

Q Did she indicate when she was cleaning it, whether she was |

Q lfMiss Rudolph had been complaining about the handcuffs l 24

25

cleaning it during the day that day or in the evening‘? |
_ _ l

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No.

Other than that, any other statements?

Just the odor of intoxicants that I got from her during

her statement

The odor of intoxicants could be because she had one or

two or three drinks; isn't that true?

MS. ZDARSKY: Objcction; speculation
BY MR. TRAlNOR:
Q That doesn't really mean anything, does it?
MS. ZDARSKY: Objcction.
You can go ahead and answer if you understand
the question
THE WlTNESSZ It could be any number of drinks,
yes.
BY MR. TRAINOR:

Q Okay. Well, what else is there other than statements from
llodges and Babinec? ls there anything that would indicate
to you that she needed to be taken away for observation,

in your personal knowledge?
MS. ZDARSKY: Objcction; asked and answered
Go ahead
BY MR. TRAINOR:

Q Go ahead

A Not that l can recall, no.

MR. TRAINOR: That's all.

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MS. ZDARSKYI l'm going to have a few questions
for you.
EXAMINATION
BY MS. ZDARSKY:
Q You talked about the odor of intoxicants Did that
intoxication cause you any concern for Miss Rudolph's
well-being that evening?

A Yes.

Q Why is that?

A And with the information that I arrived on scene with from
Mr. Rudolph's husband or ex-husband, and the other two

officers in combination with that, that's where
l developed a concern for her well-being.

Q Go ahead

A That was it.

Q While you were on scene -- and l know you mentioned that
Officer Babinec was really having most ofthe conversation
with Miss Rudolph -- did you or did Officer Babinec ask
Miss Rudolph to go to Hackley Hospital voluntarily?

A l do remember her being asked if she would -- ifshe would

go.

Q Did you hear her say that she refused to go, in one Way or

another?

A Yes.

Q There were some questions you were asked about to assume

Court Reporting Services

 

 

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things that Miss Rudolph had complained about, the
handcuffs being too tight. And l know that earlier you
testified that you didn't hear any complaints or that she
didn't make any complaints to you. But, nonetheless, in
your interaction with her, setting aside those
assumptions, did you actually check her handcuffs for
tightness?
Yes.
ln your Conversations with Detective Morningstar, were you
open and honest in those conversations?
Yes.
The fact that you didn't have any Garrity warning, did
that affect your willingness to be honest?
No.
Did you eventually get shoes for Miss Rudolph?
Yes.
Do you remember what kind of shoes those were?
l don't.
MS. ZDARSKY: All right. Those are all the
questions that l have for you.
MR. TRAINOR: That's all. Thanks.
(Deposition concluded at 3:34 p.m.)

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CERTIFICATE
STATE OF MICHIGAN )
coUNTY 0F oTTAwA ) ss
I, CYNTHIA M. THOMAS, Certified Shorthand
Reporter and Notary Publio, do hereby certify that the
foregoing deposition was taken before me at the time and
place hereinbefore set forth, and that said witness was
duly sworn by me to tell the truth, the whole truth, and
nothing but the truth, and thereupon was examined and
testified in the foregoing deposition as appears:

I FURTHER CERTIFY that the deposition was taken
in shorthand and thereafter transcribed by means of
computer-aided transcription by me and under my direction
and supervision, and that it is a true and accurate

transcript of my original shorthand notes.

I FURTHER CERTIFY that I am not a relative or
employee or attorney or counsel of any of the parties, or
financially interested directly or indirectly in this

action.

IN WITNESS WHEREOF, I have hereunto set my hand

this 10th day of October, 2017, at Grand Rapids, Michigan.

CYNTHIA M. THOMAS '
Certified Shorthand Reporter No. 3836
Notary Public, Ottawa County, Michigan

My Commission Expires: 11-09-21

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